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SENTENCING MINUTES

pate: £:14-23 CASE NUMBER: <3: 22,(2 ool24 UW )

 

 

JUDGE: David J. Novak CT REPORTER: Melissa Custis, OCR
INTERPRETER:
UNITED STATES OF AMERICA BAT R. Hood _, ausa

 

v. COUNSEL
Clad Vladotyn Egbinela REA {APO 4. BELES

: () Criminal Informati
SENTENCING ON COUNT: _ | é \aidicnoent € yr Suveneding Ind.

[ECF No- 26.1
PRELIMINARY MATTERS:

 

 

 

OBJECTIONS TO psr: No obyecHions, ADOPTED as voeitten,

 

STATEMENTS MADE BY: GOV'T i DEFENSE COUNSEL af DEFT ( A
ON MOTION OF GOV’T, (| ) INDICTMENT ( V) REMAINING CTS. DISMISSED.
DEFENDANT TO VOLUNTARILY REPORT TO DESIGNATED INSTITUTION

ON: BY:
( ) IF NO DESIGNATION MADE, REPORT TO U.S. MARSHAL IN RICHMOND

 

DEFT ADVISED OF RIGHT OF APPEAL within 14 days of today ( KO

DEFT REMANDED TO CUSTODY WS

CASE SET: ||:0 BEGAN: ||10O ENDED: ]|!45, TIME IN COURT: 35
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)

)

)

PAGE TWO (2)

SENTENCE TEXT

COUNT | ~~ IMPRISONMENT He, MOS. CONCURRENT( ) CONSECUTIVE( )
CREDIT FOR TIME SERVED ON THIS CHARGE ( A
SUPERVISED RELEASE __ YEARS
PROBATION YEARS
FINE $ ( / Fine not imposed
SPECIAL ASSESSMENT $100.00 due immediately

COUNT ————s—s IMPRISONMENT MOS. CONCURRENT(  ) CONSECUTIVE (
SUPERVISED RELEASE YEARS CONCURRENT (
PROBATION YEARS CONCURRENT (
FINE $ (_) Fine not imposed
SPECIAL ASSESSMENT $ due immediately

COUNT ss IMPRISONMENT MOS. CONCURRENT( ) CONSECUTIVE (
SUPERVISED RELEASE YEARS CONCURRENT (
PROBATION YEARS CONCURRENT (
FINE $ (__) Fine not imposed

SPECIAL ASSESSMENT $

due immediately

CONSENT ORDER OF FORFEITURE MADE A PART OF JUDGMENT IN CASE (__)

RESTITUTION ORDERED: 10 ENTER - S409, 8/9. ty

 

RECOMMENDATION(S) TO BOP:

) Designate dft. to a facility near family (
) SHOCK Incarceration Program (
) Educational / Vocational training (
) UNICOR program (

) OTHER:

-_—~ LN

) Designate dft. to FCI
) BRAVE Program

) BOP 500-hr intensive drug treatment program

) with portion of earnings directed to child support

 
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PAGE THREE (3)

SPECIAL CONDITIONS of Probation / Supervised Release:

(1) Incur no new credit without approval of probation officer
J (2) Provide probation officer with access to financial information
(3) Perform community service ————————Ss«KHOURS during period of supervision
(4) Participate in drug/alcohol treatment; Pay cost of treatment
(5) Participate in mental health treatment; Vv. Pay cost of treatment
Participate in anger management

(6) Participate in home confinement program for with monitoring
Permitted to work, attend church, or other approved activities
Maintain telephone without special features; no cordless phone
Pay costs of electronic monitoring

) Placement in a Community Confinement Center for (term)

(8) Defendant£o be surrendered to BICE for deportation proceedings
If deported, defendant to remain outside the United States

(10) Mandatory drug testing waived
Probation officer may still administer drug test if deemed appropriate

(11) Pay child support in amount ordered by social services or Court

(13) Serve intermittent confinement on weekends for a period of DAYS

(14) No possession of pager, cellular telephone, or other handheld communication device

(15) DefendanfShall pay any balance owed on the S/A imposed by the Court

Pay in installments of not less than $ per month,
to begin 30 ay after start of supervision until paid in full

(16) Waive all rights of confidentiality regarding mental health treatment
(or other treatment) to allow release of information to Probation, etc.

(17) Commencing , and continuing for , defendant may
operate a motor vehicle only for purposes of work and court, including travel to
the Probation Office and alcohol treatment program

a (18) Defendant to apply monies received from tax refunds, lottery winnings, and any
anticipated or unexpected financial gains to the Court-ordered financial obligation

f (---) Other special conditions:

not possess OR USE MAR) UOrnoW

 

 

 

 
